Case 5:22-cr-00570-OLG Document1 Filed 10/05/22 Page 1 of 4

FILED

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT OCT 05 2022
for the CLERK, U.S. DISTRICT COURT
WESTERN istrict of TEXAS ois F TEXAS

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United States of America )
Vv. )
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Chandler Britain Bradford BENG: See \Cf 6
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 4,2022  =———_—siinthecountyof Comal — inthe
Western District of _ Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 922(a)(1)(A), Unlicensed Manufacturing of Firearms, and Smuggling of Goods/Aiding &
and 554 & 2 Abetting

PENALTIES: Not More Than 5 Years Imprisonment, $250,000 Fine, 3 Years
Supervised Release, and $100 Mandatory Special Assessment,

Not More Than 10 Years Imprisonment, $250,000 Fine, 3 Years Supervised
Release, and $100 Mandatory Special Assessment.

This criminal complaint is based on these facts:

See attached affidavit

@) Continued on the attached sheet.
E RIC WATKI N S Digitally signed by ERIC WATKINS
Date: 2022.10.05 10:58:03 -05'00°
Complainant's signature

Eric Watkins, ATF Special Agent

Printed name and title

[_] Sworn to before me and signed in my presence.
(@) Sworn to telephonically and signed electronically.

Dae: _ /0 [s Jove LLifX

(VV Judge fs signature
City and state; San Antonio, Texas Hem J. Bemporad, U.S. Magistrate Judge

Printed name and title

Case 5:22-cr-00570-OLG Document1 Filed 10/05/22 Page 2 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Eric Watkins, duly sworn do hereby depose and state:

1.

Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF) since October 2018. Additionally, between April 2014 and October 2018 your affiant
was a sworn ATF Task Force Officer, and therefore, since April 2014, your affiant has
participated in investigations concerning violations of Titles 18, 21, and 26.

The United States, including the ATF, has been investigating Chandler Britain BRADFORD,
Center Fire Trading, LLC dba Centerkote (hereafter referred to as CFT), and other co-
conspirators for offenses including illegally exporting goods from the U.S. and manufacturing
firearms without a federal license. Your affiant has found evidence of BRADFORD’s receipt
of multiple wires from Mexican-based businesses that correspond to BRADFORD’s purchases
of an immense quantity of AR-15 parts.

From January 31, 2018, through April 24, 2020, CFT maintained a federal firearms license
allowing the lawful manufacturing/transfer of firearms.

For unknown reasons, CFT voluntarily surrendered their federal firearms license and submitted
their firearm transfer records to ATF’s Out of Business Records Center on April 24, 2020. SA
Watkins found BRADFORD and another individual documented as CFT’s managers in the
Federal Licensing System.

Your affiant observed, through information obtained via search warrant, that BRADFORD
purchased an immense quantity of AR-15 parts and accessories, and Glock parts, from
approximately April 24, 2020, through the end of July 2022. Your affiant knows from
reviewing invoices of firearm parts purchased by BRADFORD that he spent more than $1
million on firearm parts.

On September 26, 2022, BRADFORD traveled to Laredo, Texas, and arrived at a storage
facility. ATF Agents from Laredo observed BRADFORD unloading multiple boxes described
as large and heavy into a storage unit from the bed of his Ford F-150. Agents observed
BRADFORD close the door to the unit and travel to a Taco Palenque, where he ate alone and
utilized his cellphone. ATF Agents in Laredo continued to maintain surveillance on the unit
after BRADFORD left. BRADFORD traveled away from Taco Palenque towards San Antonio
after finishing lunch.

Following BRADFORD’s activities in Laredo, your affiant obtained a search warrant for
the storage unit from a federal magistrate judge in Laredo. Agents executed the search
warrant without issue on September 26, 2022, which resulted in the seizure of 100 AR-15
upper receivers with 7.5” barrels, bolt carrier groups, and charging handles.
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Case 5:22-cr-00570-OLG Document1 Filed 10/05/22 Page 3of4

On September 30, 2022, agents observed via historical video that BRADFORD loaded
approximately seven boxes (with two boxes already in the bed) into his Ford F-150 from a hot
rod shop in New Braunfels where BRADFORD previously ordered firearm parts to be shipped.
Agents observed via court-authorized vehicle tracking that BRADFORD traveled to the area
of a storage facility in Laredo, before going to a Taco Palenque. Following Taco Palenque,
BRADFORD traveled back to the hot rod shop in New Braunfels but did not unload any boxes.

On October 4, 2022, agents observed BRADFORD traveling to Laredo in his truck. Agents
from ATF Laredo observed BRADFORD travel to a storage facility in Laredo, where
BRADFORD transferred multiple boxes from his F-150 to the interior of a storage unit.
BRADFORD traveled away from the facility and went to a Taco Palenque, following the same
pattern of behavior as September 30, 2022.

While agents were obtaining the tenant’s information and video of BRADFORD’s activities,
an individual approached the storage unit, opened it, and began unpacking, then repacking the
contents of the boxes delivered by BRADFORD. Agents approached the individual, identified
themselves, and gained his cooperation. The individual admitted he was the tenant and the
boxes contained firearms. Agents obtained verbal consent to search the boxes, which revealed
completed AR-15 upper receivers, and various AR-15 parts. The tenant admitted his job is to
package the firearm parts, then notify other individuals who smuggle the firearm parts to
Monterrey, Mexico.

The tenant stated that a “guero or gringo” delivers the packages to the storage unit, and the
“suero or gringo” only communicates with the boss in Monterrey, Mexico.

After leaving Laredo, agents observed via court-authorized vehicle tracking that BRADFORD
traveled to his residence on Landa Street in New Braunfels, where ATF agents detained and
arrested BRADFORD. Upon search incident to arrest, BRADFORD was found to possess the
keys to his Ford F-150, his residence, and a key ring with over 20 keys consistent with storage
unit locks.

Following BRADFORD’s arrest, your affiant applied for, and received, premises search
warrants for BRADFORD’s residence and the hot rod shop in New Braunfels associated with
BRADFORD. During execution of the warrant at the hot rod shop, agents seized hundreds of
AR-15 parts, numerous pieces of firearm manufacturing equipment (drill press, AR-15
armorer’s tools, drill bits, armorer’s cleaning mats with firearm diagrams, router, jigs, etc.),
multiple privately manufactured AR-15 and Glock-variant firearms, and incomplete 80%
lower receivers for AR-15s and Glock-variant firearms.

Based on the above facts, your affiant believes there is probable cause that BRADFORD has
violated 18 U.S.C. §§ 922(a)(1)(A) (Unlicensed Manufacturing of Firearms), and 554 & 2
(Smuggling of Goods and Aiding & Abetting).
Case 5:22-cr-00570-OLG Document1 Filed 10/05/22 Page 4of4

Digitally signed by ERIC WATKINS
ERIC WATKINS pate: 2022 10.08 10:57:91 0500

Special Agent Eric Watkins
Bureau of Alcohol, Tobacco, Firearms and
Explosives

SUBSCRIBED AND SWORN TO ME THIS 5th DAY OF OCTOBER, 2022

“ty

HONORABLE HENRY J. BEMPORAD
UNITED STATES MAGISTRATE JUDGE

